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MEMPHIS’ WELLNESS CLINIC

We opened in 2016 with the belief that the Memphis community need

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the Lipo shot, rs’ Cocktail, and F your sick visit ne

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5 based on 735 reviews

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WEGOVY?

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GET STARTED WITH SEMAGLUTIDE
TREATMENTS TODAY!

What is Wegovy?
Wegovy, also known as semaglutide, is a weekly injection approved by the FDA in 2021 for weight loss. It belongs to a class
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Wegovy works by sending a message to your brain that says, “l am full. Stop eating.” On Wegovy, you'll feel fuller faster, so
you'll eat less, resulting in weight loss. Results have been very promising. Until now, this medicine has been difficult to obtain
and very expensive. We are excited to announce that we now have it available for convenient access at a reasonable price. If
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How does it work?

Wegovy slows down gatrointestinal motility, causing patients to feel full, and acts on the appetite centers in the brain to
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READY TO GET STARTED ON SEMAGLUTIDE?

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